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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA        *
                                 *
      v.                         *    CASE NO. GJH-19-96
                                 *
 CHRISTOPHER PAUL HASSON,        *
                                 *
           Defendant             *
                                 *
                             ********
  OPPOSITION TO MOTION FOR RECONSIDERATION OF DETENTION ORDER

       The defendant continues to pose a serious danger and must be detained pending trial. His

motion for reconsideration should be denied.

                                 Introduction and Background

       The Government previously filed a Motion for Detention outlining some of the many

reasons the defendant should be detained. See ECF No. 9. After a hearing on February 21,

2019, the Court ordered the defendant’s detention. See ECF No. 12. Thereafter, a federal grand

jury for the District of Maryland returned a four-count indictment charging the defendant with

illegal possession of unregistered and unmarked silencers, illegal possession of seventeen

firearms by an unlawful user or addict of controlled substances, and simple possession of a

controlled substance (Tramadol, an opioid). See ECF No. 16.

                               The Defendant Must Be Detained

       As the Court well knows, certain statutory factors must be considered in determining

whether conditions of release exist that will reasonably assure the defendant’s appearance or the

safety of the community or any individual: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence against the defendant; (3) the history and characteristics

of the defendant; and (4) the nature and seriousness of the danger posed by the defendant’s
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release. See 18 U.S.C. § 3142(g)(1)-(4). In its Motion for Detention and at the previous

detention hearing, the Government discussed facts relevant to each factor. Below, the

Government sets forth certain additional relevant information.

       Nature and Circumstances of the Offense Charged

       At the previous detention hearing, consistent with the plain language of 18 U.S.C.

§ 3142(f)—which allows the defendant to seek to reopen the detention hearing at any point prior

to trial in certain situations—the Court offered the defendant the opportunity to move to

reconsider the detention order if the Government did not charge the defendant with “any of the

assorted criminal activity that they allude to and have argued here today about.” ECF No. 24

(quoting transcript of hearing). The two silencer counts brought by the grand jury are directly

related to the conduct outlined in the Government’s prior detention motion. The silencers serve

one purpose: to murder quietly. The defendant intended to do so on a mass scale, and his

detention has thwarted his unlawful desire.

       In the original Motion for Detention, the Government set forth evidence that the

defendant had begun the process of targeting certain specific victims. The Government now

adds to that list two Supreme Court justices and two executives of social media companies, for

whose home addresses the defendant conducted Internet searches in March 2018—within

minutes before and after searching firearm sales websites. 1

       Weight of the Evidence Against the Defendant

       Silencers: According to e-mails and banking records, on July 30, 2017, the defendant

bought certain known metal parts from a company in California for $202.55. Those parts



1
  The defendant conducted an Internet search for “are supreme court justices protected”
approximately two weeks prior to searching for the home addresses of the two Supreme Court
justices. See ECF No. 9 at 10.
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contained pre-indexed holes—ready to be drilled and assembled into unlawful silencers. The

defendant owned an appropriate drill press, which was found in his residence during the

execution of the search warrant on February 15, 2019. Some of the silencer parts were found

drilled out, and one silencer was fully assembled. According to the ATF expert examiner, “[t]he

absence of manufacturer’s markings and a serial number indicate clandestine manufacture . . . .”

More troubling, the defendant had fired the assembled silencer: When an ATF expert examined

it, the internal components were covered with a gray residue, indicative of gunpowder and thus

use.

       Firearms and Narcotics: The defendant clearly possessed the firearms charged in the

indictment. The firearms all were located within the defendant’s small residence, many of them

in a closet in his bedroom. According to tracing records, the defendant personally purchased

many of the firearms outside the State of Maryland, including the Remington shotgun (June 21,

2009, in California); Stag Arms rifle (October 1, 2009, in California); H&K handgun (January

25, 2015, in Virginia); Glock handgun (May 7, 2016, in Virginia); Springfield handgun (October

1, 2017, in Virginia); and Bergara rifle (December 30, 2017, in Virginia). 2

       The defendant also clearly purchased, used, and was addicted to Tramadol, thereby

making possession of the firearms illegal. The Government previously set forth the defendant’s

then-known Tramadol purchase history and his use of the narcotic while at work. ECF Nos. 1 &

9. Over the years, the defendant has conducted Internet searches for information regarding his

Tramadol addiction. For example, on July 12, 2017, the defendant conducted an Internet search

for “How long does it take to get off tramadol?” and visited an article titled “I[’]m addicted to



2
  The Government continues to trace the origins of several of the firearms identified in the
indictment.

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tramadol.” Of course, as previously detailed, the defendant continued to purchase and use

Tramadol through the date of his arrest on February 15, 2019.

        Moreover, while in custody, the defendant has repeatedly admitted to relatives that he

has been using drugs for years. Those admissions include:

           •   March 12, 2019: “I’m off drugs for a month now almost, thinking how much I

               fucked everything up . . . .”

           •   March 13, 2019: “I was on drugs, as you know. . . .”

           •   March 14, 2019: “I’m sorry for getting involved with drugs.”

       History and Characteristics of the Defendant

       In its original Motion for Detention, the Government identified a September 2017 letter

authored by the defendant to a known American neo-Nazi leader, in which the defendant stated:

       While I fully support the idea of a white homeland, my friends who still play at
       being a skinhead at 40 plus years old say that you are an informant. That is neither
       here nor there it is not an accusation the person who told me this served a 12 year
       prison sentence and never ratted me out so I will not dispute him nor will I accuse
       you.

The identity of the person the defendant references as having “never ratted [the defendant] out”

is known to the Government; the defendant refers to the person as “Missouri” and the

Government will so too.

       The defendant and Missouri have a long history with one another. Late at night on

February 11, 1995, the defendant and Missouri went to a private residence in Hampton,

Virginia. 3 When the homeowner arrived by car and inquired as to the reason for their presence,


3
  The defendant and Missouri were joined by a third man, also a “skinhead” according to the
police report. At the time of the 1995 conduct, the third man was pending sentencing for a
weapons conviction and for defacing a predominantly black church with spray paint that read
“Leave now or else” and “White power.” As late as 2014, the third man continued to hold a
leadership position in a white supremacist organization in the United States.

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the defendant and Missouri—according to the police report—“called [the owner] several names,

stated it was none of his business and walked toward the victim.” The victim identified the

defendant and Missouri as “skinheads.” 4 According to the police report, Missouri—wearing a

black jacket with Swastika patches—pulled a handgun from his jacket, “aimed the firearm to the

victim[’s] face and pulled the trigger[.] When the firearm did not discharge[,] the suspect beat

the victim with the firearm. Chris Hasson was standing there with the suspect when this

occurred.” In September 1995, Missouri was convicted at trial in Virginia state court of

attempted murder, maiming, and firearms charges, after which he served a considerable period of

incarceration.

       In March 2019, an FBI agent interviewed Missouri, who gave limited information about

his relationship with the defendant. The same day of the interview, Missouri caused one of the

defendant’s relatives to learn that the FBI had stopped by to speak to Missouri. When that

relative passed the information to the defendant, the defendant’s first words were: “Oh shit.”

After professing that “I didn’t put them that way”—apparently concerned that Missouri would

think the defendant directed law enforcement toward Missouri—the defendant stated that he

thought the Government “would try to get me to inform. I wouldn’t do that, but I’m just saying

. . . I had this thing in my head where they’d offer me.” The defendant’s relative quickly

interrupted: “There’s nothing there to inform and they could never prove anything.” The

defendant agreed that it was “good for you and I” that Missouri “shut that door down” during the

FBI interview.


4
 The defendant’s Internet search history lays bare his views on race, which in turn inform his
criminal conduct. For example, on August 16, 2017, the defendant searched for “white
homeland” and “when are whites going to wake up.” On November 30, 2017, the defendant
searched for “please god let there be a race war.” And on March 16, 2018, the defendant
searched for “best nigger killing gun,” after which he visited various firearm sales websites.

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       Nature and Seriousness of the Danger Posed by the Defendant’s Release

       As shown throughout this brief, the defendant poses a substantial risk of danger to the

community. It cannot go unnoticed that the terrorist who perpetrated the New Zealand attacks in

March 2019 was a devotee of far-right Norwegian domestic terrorist Anders Breivik—from

whom, as discussed in the Motion for Detention, the defendant also took criminal direction.

                                          Conclusion

       The Government respectfully submits that the defendant’s motion for reconsideration

should be denied. The defendant must be detained pending trial.



                                            Respectfully submitted,

                                            Robert K. Hur
                                            United States Attorney


                                            /s/
                                            Thomas P. Windom
                                            Assistant United States Attorney




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